     Case: 1:16-cv-00301-MRB Doc #: 72 Filed: 06/04/18 Page: 1 of 2 PAGEID #: 2815




                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION (AT CINCINNATI)


PHYSICIANS HEALTHSOURCE, INC.,                       )   Civil Action No.: 1:16-cv-00301-MRB
individually, and as the representatives of a        )
class of similarly-situated persons,                 )
                                                     )   Judge: Michael R. Barrett
          Plaintiffs,                                )
                                                     )
v.                                                   )   NOTICE OF FILING DEPOSITION
                                                     )
IPC, INC d/b/a PLATINUMCODE., and                    )
JOHN DOES 1-10,                                      )
                                                     )
          Defendants.                                )

          Notice is hereby given that the following deposition taken as if upon cross-examination

before a notary public is being filed with the Court contemporaneously with the filing of this

Notice:

          1.      Ron Griffith (taken 4/27/18).



                                                  Respectfully submitted,

                                                  PHYSICIANS HEALTHSOURCE, INC.,
                                                  individually and as the representative of a class of
                                                  similarly-situated persons


                                                  /s/Matthew E. Stubbs
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                                                     1
  Case: 1:16-cv-00301-MRB Doc #: 72 Filed: 06/04/18 Page: 2 of 2 PAGEID #: 2816




                                             /s/Brian J. Wanca
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                                             Attorneys for Plaintiff Physicians Healthsource, Inc.

                                CERTIFICATE OF SERVICE

        I hereby certify that on, June 4, 2018, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to all attorneys
of record.


                                             /s/ Matthew E. Stubbs
                                             Matthew E. Stubbs




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